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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ, MAR-
    CUS MARTIN, NATALIE ROMERO, CHEL-
    SEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,



                                  Plaintiffs,

    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD AMER-
    ICA, ANDREW ANGLIN, MOONBASE
    HOLDINGS, LLC, ROBERT “AZZMADOR”
    RAY, NATHAN DAMIGO, ELLIOTT
    KLINE a/k/a ELI MOSLEY, IDENTITY                    Civil Action No. 3:17-cv-00072-NKM
    EVROPA, MATTHEW HEIMBACH, MAT-
    THEW PARROTT a/k/a DAVID MATTHEW                      JURY TRIAL DEMANDED
    PARROTT, TRADITIONALIST WORKER
    PARTY, MICHAEL HILL, MICHAEL
    TUBBS, LEAGUE OF THE SOUTH, JEFF
    SCHOEP, NATIONAL SOCIALIST MOVE-
    MENT, NATIONALIST FRONT, AUGUS-
    TUS SOL INVICTUS, FRATERNAL ORDER
    OF THE ALT-KNIGHTS, LOYAL WHITE
    KNIGHTS OF THE KU KLUX KLAN, and
    EAST COAST KNIGHTS OF THE KU
    KLUX KLAN a/k/a EAST COAST KNIGHTS


                                  Defendants.


         MOTION FOR RECONSIDERATION OF ORDER GRANTING PLAINTIFFS’
           MOTION TO COMPEL DISCOVERY FROM DEFENDANT SCHOEP

         Defendant Jeff Schoep, by and through counsel, respectfully moves, pursuant to Federal

  Rules of Civil Procedure 54(b), 59(c), and 60(b), for reconsideration of the Court’s May 27,

  2020 Memorandum and Order, ECF No. 741, granting, in its entirety, Plaintiffs’ Motion to

  Compel Discovery from Defendant Jeff Schoep, ECF No. 689.
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      Defendant Schoep respectfully requests ask that the Court reconsider its Order granting Pls’

  Mot. to Compel for the reasons set forth in the forthcoming Memorandum in Support of

  Defendant Schoep’s Motion for Reconsideration.



      Dated: May 28, 2020


                                                    Respectfully Submitted,

                                                 /s/ W. Edward ReBrook, IV
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on May 28, 2020, I filed the foregoing with the Clerk of
       Court through the CM/ECF system, which will send a notice of electronic filing to:


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        I further hereby certify that on May 28, 2020, I also served the following non-ECF
   participants, via electronic mail, as follows:


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                                                /s/ W. Edward ReBrook, IV

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